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      IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

DEREK SCOTT                                 )
                                            )      CASE NO.:
      Plaintiff,                            )
                                            )
      v.                                    )
                                            )
AT&T MOBILITY SERVICES, LLC,                )
STEVE DRISCOLL, official and                )
individual capacity, STEVE MENARD,          )
official and individual capacity            )
DOUG CLARK, official and individual         )
Capacity, STACEY SWARTZ, official           )
And individual capacity ,                   )
AT&T Inc.,                                  )
                                            )
      Defendants.                           )



  COMPLAINT FOR VIOLATION OF TITLE VII OF THE CIVIL
                RIGHTS ACT OF 1964



      COMES NOW, Derek Scott, Plaintiff in the above styled action, by

and through his attorney, Theresa Seals Starkes, Esq. and makes this

Complaint against AT&T Mobility Services, LLC, Steve Driscoll, Steve

Menard, Doug Clark, Stacey Swartz and AT&T, Inc., Defendants as follows:
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                    I.     NATURE OF THE ACTION

                                       1.

      This is an action for relief from employment discrimination in

violation of Title VII of the Civil Rights Act of 1964, as amended and

Section 704(a) of Title VII of the Civil Rights Act of 1964.

                                       2.

      Plaintiff alleges that Defendants, AT&T Mobility Services, LLC,

AT&T, Inc., Steve Driscoll, Steve Menard, Doug Clark and Stacey Swartz

(collectively, “Defendants”), unlawfully discriminated against him on the

basis of his race (African American) by subjecting him to different terms

and conditions than non-African American employees.

                                       3.

      Plaintiff further alleges that Defendants harassed him on the basis of

his race by removing his accounts, placing barriers on his ability to travel to

clients and placing him on an unjustifiable performance improvement plan.

                                       4.

      Plaintiff further alleges that Defendants retaliated against him after he

complained about discrimination against him and one of his solution
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providers based on their race (African American) by removing his accounts,

placing barriers on his ability to travel to clients, placing him on an

unjustifiable performance improvement plan and attempting to close out his

2018 employee review which affected his compensation and bonuses.

                            II.    THE PARTIES

                                       5.

      Plaintiff is an African American male. He works as a second level

Sales Executive 2 – Dealer Support. Plaintiff’s title is AT&T National

FirstNet Channel Manager. The Plaintiff is the only African American in

this position. The Plaintiff was initially hired in 2007 by AT&T. He briefly

left the company in November 2016 and was hired back on October 9, 2017

by AT&T Mobility Services, LLC.

                                       6.

      Upon information and belief, Defendant AT&T Mobility Services,

LLC is a large wireless and voice carrier in the U.S. It is the domestic

wireless operation of AT&T Inc., its parent company. AT&T Mobility

Services employs approximately 43,000 individuals. AT&T Mobility

Services operates an office at 1025 Lenox Park Blvd. NE, Atlanta, Fulton

County, GA 30319 employing approximately 1,500 employees at this
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location and all or most of the events alleged herein occurred under the

direction of Steve Driscoll who is located in this office.




                                            7.

      At all times relevant herein, Defendant AT&T Mobility Services had

at least fifteen employees, and was therefore an “employer” within the

meaning of Title VII.

                                            8.

      Upon information and belief, Defendant AT&T Mobility Services is a

subsidiary of Defendant AT&T Inc.

                                            9.

      Upon information and belief, Defendant AT&T Inc. is a U.S.

company that maintains several office locations. Defendant AT&T Inc. with

Defendant AT&T Mobility Services, operates the office at 1025 Lenox Park

Blvd., Atlanta, GA where all or most of the events alleged herein occurred

by Defendant Steve Driscoll located in this office.

                                      10.

      At all times relevant herein, Defendant AT&T Inc. had at least fifteen

employees and was therefore an “employer” within the meaning of Title VII.
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                                      11.

      Upon information and belief, Defendant Steve Driscoll holds the title

of Sales Manager – Dealer Support with AT&T Mobility Services. Steve

Driscoll works in the AT&T Mobility Services office located at 1025 Lenox

Park Blvd., Atlanta, GA and is in some manner responsible for the

occurrences and injuries alleged in this complaint.

                                      12.

      Upon information and belief, Defendant Steve Menard holds the title

of Assistant Vice President with AT&T Mobility Services and was Steve

Driscoll’s supervisor. Steve Menard is in some manner responsible for the

occurrences and injuries alleged in this complaint.

                                      13.

      Upon information and belief, Doug Clark holds the title of Assistant

Vice President in Application Sales with AT&T Mobility Services and is

Steve Driscoll’s direct supervisor. Doug Clark is in some manner

responsible for the occurrences and injuries alleged in this complaint.

                                      14.

      Upon information and belief, Stacey Swartz holds the title of Vice

President in AT&T and is in some manner responsible for the occurrences

and injuries alleged in this complaint.
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                      III.   JURISDICTION AND VENUE

                                      15.

      This Court has jurisdiction of Plaintiff’s federal law claims pursuant

to 28 U.S.C. §1331, as this case involves questions of federal law.

                                      16.

      This action is brought for discrimination in employment pursuant to

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to

2000e-17 (race).

                                      17.

      Venue is proper in, and Defendants are subject to the personal

jurisdiction of this Court because Defendants maintain an office and

business operations in this District and all or most of the events giving rise

to this action occurred in this District, 28 U.S.C. §1391 (b); 42 U.S.C.

§2000e-5(f)(3).

      IV.      EXHAUSTION OF ADMINISTRATIVE REMEDIES

                                      18.

      Plaintiff timely filed charges of discrimination with United States

Equal Employment Opportunity Commission (“EEOC”) on or around

February 11, 2020, the EEOC issued Plaintiff’s Notice of Right to Sue.

(Exhibit A).
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                                      19.

      Plaintiff has timely filed this action and has complied with all

administrative prerequisites to bring this lawsuit.



                    V.     FACTUAL ALLEGATIONS

                                      20.

      At all times material to this action, Plaintiff was employed by

Defendants as an AT&T National FirstNet Channel Manager under the

supervision of Steve Driscoll who is in the Atlanta, GA office.

                                      21.

      As part of his job, Plaintiff is responsible for supervising solution

providers also known as partners assigned to him.

                                      22.

      On or about August 2018, Plaintiff was informed by Defendant Steve

Driscoll that he was moving one solution provider/partner, EDN (the only

African American solution provider/partner), from the Plaintiff’s peer to him

after only a month in the program.

                                      23.

      Defendant Steve Driscoll’s explanation for moving the solution

provider/partner, EDN, from the Plaintiff’s peer to the Plaintiff was that he
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thought the Plaintiff would be better suited to control EDN “because we

were both black and could better relate to each other.”

                                        24.

       Defendant Steve Driscoll also informed the Plaintiff that he should

speak with Defendant Doug Clark about EDN and how to deal with them.

                                        25.

       On or about September 2018, Defendant Steve Driscoll began using

different rules of engagement, tactics and requirements for the Plaintiff and

EDN.

                                        26.

       On or about September 17, 2018, the Defendant Steve Driscoll and

the Plaintiff had a conversation about fair business practices, AT&T’s code

of business conduct and racial discrimination. The Plaintiff expressed his

concerns with these topics and how the Defendant Steve Driscoll was

treating him and the African American partner, EDN.

                                        27.

       Defendant Steve Driscoll began to yell at the Plaintiff for

approximately 45 minutes threatening the Plaintiff’s job and threatening to

fire him because the Plaintiff asked about equality and fair/equal treatment

for every partner regardless of race.
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                                         28.

       Defendant Steve Driscoll yelled that he was removing the partner

EDN from the Plaintiff and that he was going to do what he could to fire the

Plaintiff.

                                         29.

       On or about September 18, 2018, Defendant Steve Driscoll reversed

his remarks and decision about removing the Plaintiff from the partner EDN

and began new specific rules just for the Plaintiff and the partner EDN.

                                         30.

       Later that day on or about September 18, 2018, Defendant Steve

Driscoll returned to his threats and discrimination by adding his supervisor,

Defendant Steve Menard to an email chain with his demands directedly only

for the Plaintiff and the African American partner, EDN.

                                         31.

       Defendant Steve Driscoll’s demands were not placed on the rest of his

organization or the Plaintiff’s peers.

                                         32.

       The Plaintiff specifically asked Defendant Steve Driscoll if his

demands were also meant for every partner in the organization and the

Plaintiff’s peers. Defendant Steve Driscoll’s answer was “no”.
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                                      33.

      On or about September 21, 2018, Defendants Steve Driscoll and Steve

Menard began discussing having to pay the commission to the partner, EDN

and the Plaintiff. There were no other discussions of payment of

commission for any other partner or any of the Plaintiff’s peers.

                                      34.

      To this date, the partner EDN has not received full payment of the

commissions they earned and the Plaintiff has had difficulty receiving full

payment his commissions.

                                      35.

      The partner EDN was soon terminated from the solution

provider/partner program.

                                      36.

      The Plaintiff’s sales plan was not adjusted by the Defendants when

the Plaintiff’s number one partner in sales, EDN, was terminated and taken

away from him. The Plaintiff was expected to make his sales plan for the

year with less partners than his peers.
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                                      37.

      Defendant Steve Driscoll failed to assign the Plaintiff any accounts

from August 2018 to May 2019. This directly affected the Plaintiff’s

compensation and bonuses.

                                      38.

      On or about the fourth quarter of 2018, Defendant Steve Driscoll

placed the Plaintiff on a Performance Improvement Plan (PIP). The Plaintiff

was placed on the PIP based on the falsehood that the Plaintiff did not and

would not complete his mandatory training due by December 31, 2018 and

reach his sales quota goal of 70% and above.

                                      39.

      Defendant Steve Driscoll had Defendant Steve Menards’s approval

and the HR lead to initiate the PIP involving the Plaintiff.

                                      40.

      The Plaintiff finished 2018 during the Coaching Action Plan (CAP)

and PIP discrimination by making 98% of his sales quota plan and 100%

completion of his compliance training.
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                                      41.

      Four of seven of the Plaintiff’s Caucasian peers ended 2018 under

60% to sales plan for the year. None of them were placed on a CAP or PIP

or even had their performance addressed.

                                      42.

      The Plaintiff documented every step of the PIP weekly with his notes

and responses in red. The Plaintiff sent Defendants Steve Driscoll and Steve

Menard an email of the document weekly.

                                      43.

      After enduring months of discrimination and retaliation from

Defendant Steve Driscoll, Human Resources determined that the CAP and

PIP should have never been allowed to be initiated.

                                      44.

      Human Resources dissolved the CAP and PIP. It was recognized that

the Plaintiff met all the requirements of his job and duties.

                                      45.

      Human Resource told the Plaintiff not to worry about the PIP. The

PIP was never closed, rectified or explained.
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                                      46.

      During the second half of August 2018, Defendant Steve Driscoll

became very upset with the Plaintiff and began threatening the Plaintiff by

trying to use company policies to fire the Plaintiff.

                                      47.

      This came after the Plaintiff began expressing his concern about

treating all partners equally and operating fairly. Defendant Steve Driscoll’s

response was that “he would do what he wanted, and this was his

organization and company to run”.

                                      48.

      The Plaintiff expressed to Defendant Steve Driscoll that he had no

intention of personally violating any code of business conduct rules or

showing any bias toward any partner in the company program.

                                      49.

      For three weeks, the Plaintiff expressed his concerns regarding

Defendant Steve Driscoll’s discriminatory and harassing behavior with

Defendant Steve Menard. The Plaintiff did not receive a response from

Defendant Steve Menard.
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                                     50.

      On or about October 9, 2018, the Plaintiff requested a formal meeting

with Defendant Steve Menard (Defendant Steve Driscoll’s supervisor).

                                     51.

      On or about October 15, 2018, the Plaintiff had a call with Defendant

Steve Driscoll and Defendant Steve Menard. The Plaintiff shared his

complaints with Defendant Steve Menard about Defendant Steve Driscoll’s

discriminatory and harassing behavior.

                                     52.

      Defendant Steve Menards’ response to the October 15, 2018 call was

that “he didn’t like confrontation and to just do what Steve wanted and get

this over and move on, because he didn’t like conflict”.

                                     53.

      Defendants Steve Driscoll and Steve Menard proceeded with the CAP

after the Plaintiff provided over forty emails to Defendant Steve Menard on

behavior and actions of Defendant Steve Driscoll.

                                     54.

      The Plaintiff repeatedly asked for assistance addressing Defendant

Steve Driscoll’s discrimination through proper channels. This included

asking for assistance from both of the Plaintiff’s Assistant Vice Presidents
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(Defendants Steve Menard and Doug Clark), the Plaintiff’s Vice President

(Defendant Stacey Swartz), the company complaint hotline, emails, and

phone calls and discussions with multiple people in Human Resources.

                                     55.

      On or about November 2018, the Plaintiff contacted Human

Resources regarding his concerns and outlined what was happening.

                                     56.

      On or about December 5, 2018, Linda Guadiano, in Human Resource

was sending the Plaintiff in a loop. She sent the Plaintiff back to Defendants

Steve Driscoll and Steve Menard and disregarded all complaints.

                                     57.

      On or about December 6, 2018, the Plaintiff filed the first of two

internal complaints with the AT&T hotline.

                                     58.

      The Plaintiff’s first complaint with the AT&T hotline was for

discrimination.

                                     59.

      Defendant Steve Driscoll continued his discrimination and harassment

by escalating it both on the Plaintiff and the African American partner,

EDN. Defendant Steve Driscoll’s attacks ensued through February 2019,
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with several emails and conversations with Human Resources on the issue of

discrimination.

                                       60.

      Defendant Steve Driscoll took it upon himself to remove all the

Plaintiff’s accounts from the company’s salesforce and reassign them to him.

                                       61.

      Defendant Steve Driscoll denied the Plaintiff’s travel requests as well

hindering the Plaintiff from traveling to see his clients.

                                       62.

      On or about January 2019, the Plaintiff contacted Human Resources

again and explained the discriminatory and harassing behavior he was

enduring from the Defendant Steve Driscoll.

                                       63.

      Defendant Steve Driscoll contacted the partner, EDN, and yelled at

them and made demands forcing them to send an email to the entire FirstNet

leadership on their actions.

                                       64.

      Due to the Defendant Steve Driscolls’ actions, the Defendant was

removed from ever being able to speak to the partner, EDN, again.
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                                      65.

       Defendant Doug Clark contacted the Plaintiff and reinstated his travel

privileges and contacted operations to have the Plaintiff’s accounts restored

to him.

                                      66.

       Defendant Steve Driscoll deliberately ignored the company policy and

procedure for doing annual reviews.

                                      67.

       Defendant Steve Driscoll proceeded to write negative and false claims

on the Plaintiff’s 2018 annual review and marked the Plaintiff as not

applicable for a raise.

                                      68.

       In 2018, everyone on Defenandant Steve Driscolls’ team received

their annual review, had a one on one with the Defenadant Steve Driscoll

and received a raise except for the Plaintiff despite being under 70% of their

sales plan quota.

                                      69.

       Defendant Steve Driscoll the proceeded to hide the Plaintiff’s annual

review from the Plaintiff and did not forward the review with his comments

to the Plaintiff.
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                                      70.

      Defendant Steve Driscoll setup one on one annual reviews with

everyone on his team (per company policy) except the Plaintiff.

                                      71.

      Defendant Steve Driscoll received several reminders from the

automated system within the company, letting him know that he needed to

forward the Plaintiff his annual review for the Plaintiff’s signature.

                                      72.

      Defendant Steve Driscoll continually ignored those reminders and just

forwarded the Plaintiff’s annual review with his negative comments to

Defendant Doug Clark.

                                      73.

      Defendant Doug Clark continued this process of not sending the

Plaintiff his annual review.

                                      74.

      Defendant Doug Clark also ignored the same reminders for he

received and eventually closed the Plaintiff’s annual review without the

Plaintiff ever knowing it.
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                                      75.

      The annual review process is the same for every employee at AT&T.

The process has very strict processes and procedures.

                                      76.

      None of the annual review processes were followed and several were

purposely broken regarding the Plaintiff’s annual review.

                                      77.

      Plaintiff filed a second complaint for retaliation on or about the end of

July 2019.

                        VI. CLAIMS FOR RELIEF

                      FIRST CLAIM FOR RELIEF

 Race Based Discrimination in Violation of Title VII of Civil Rights Act of

                              1964, as amended.

                                      78.

      Plaintiff incorporates by reference as if fully set forth herein the

allegations contained in paragraphs 1 through 77, above.

                                      79.

      Defendant Steve Driscoll subjected the Plaintiff to different terms and

conditions that other non-African American employees did not have to

endure.
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                                      80.

      Defendant Steve Driscoll purposefully failed to assign the Plaintiff

accounts from August 2018 to May 2019 which directly affected the

Plaintiff’s compensation and bonuses.

                                      81.

      As a direct, legal and proximate result of the discrimination, Plaintiff

has sustained, and will continue to sustain, economic and emotional injuries,

resulting in damages in an amount to be proven at trial.

                                      82.

      Defendants’ unlawful actions were intentional, willful, malicious,

and/or done with reckless disregard to Plaintiff’s right to be free from

discrimination based on race.

                                      83.

      Plaintiff is entitled to his reasonable attorney’s fees and costs of suit.

                     SECOND CLAIM FOR RELIEF

  Race Based Discrimination (Harassment/Hostile Work Environment) in

     Violation of Title VII of the Civil Rights Act of 1964, as amended.

                                      84.

      Plaintiff incorporates by reference as if fully set forth herein the

allegations contained in paragraph 1 through 83, above.
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                                      85.

        Plaintiff was subjected to harassment by Defendants because of his

race.

                                      86.

        Plaintiff was harassed by Defendant Steve Driscoll who removed his

account and placed barriers on his travel requests to see clients therefore

hindering his ability to perform his job.

                                      87.

        Defendant Steve Driscoll placed the Plaintiff on an unjustifiable PIP

also preventing him from doing his job and resulting in the loss of his raise.

                                      88.

        Defendants’ conduct was not welcomed by the Plaintiff.

                                      89.

        Defendants’ conduct was undertaken because of Plaintiff’s race.

                                      90.

        Defendants’ conduct was so severe and pervasive that reasonable

persons in the Plaintiff’s position would find their work environment to

hostile and abusive.
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                                     91.

      Plaintiff believed his work environment to hostile or abusive as a

result of Defendants’ conduct.

                                     92.

      Management level employees knew, or should have known, of the

abusive conduct. Plaintiff provided management level personnel, including

Defendant Steve Menard, Defendant Doug Clark and Defendant Stacey

Swartz with information sufficient to raise a probability of race based

harassment in the mind of a reasonable employer. Moreover, the harassment

was so pervasive and open that a reasonable employer would have had to

been aware of it. Management level employees were themselves complicit

in the abusive conduct.

                                     93.

      Defendants did not exercise reasonable care to prevent harassment in

the workplace on the bases of race and did not exercise reasonable care to

promptly correct any harassing behavior that did occur.

                                     94.

      As a direct, legal and proximate result of the discrimination, Plaintiff

has sustained, and will continue to sustain, economic and emotional injuries,

resulting in damages in an amount to be proven at trial.
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                                      95.

      Defendants’ unlawful actions were intentional, willful, malicious,

and/or done with reckless disregard for Plaintiff’s right to be free from

discrimination based on race.

                      THIRD CLAIM FOR RELIEF

   Retaliation in Violation of Title VII of the Civil Rights Act of 1964, as

                                   amended

                                      96.

      Plaintiff incorporates by reference as if fully set forth herein the

allegations contained in paragraph 1 through 95, above.

                                      97.

      Section 704(a) of Title VII of the Civil Rights Act of 1964, as

amended, prohibits employers from discriminating against an employee

“because [he] has opposed any practice made an unlawful employment

practice by this subchapter.” 42 U.S.C. §n2000e-3(a).

                                      98.

      Plaintiff made informal and formal complaints to Defendants and

Human Resource employees opposing Defendants’ unlawful, discriminatory

employment practices based on race.
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                                      99.

      As a result of Plaintiff’s complaints, Defendants and employees took

materially adverse actions against the Plaintiff, including but not limited to,

removing the Plaintiff’s accounts, preventing the Plaintiff from traveling to

see clients, attempting to close out the Plaintiff’s 2018 review directly

affecting his compensation and bonuses, placing the Plaintiff on

unjustifiable CAP and PIP write ups, threats of termination and reprimands

by supervisors.

                                      100.

      Defendants’ adverse actions constituted retaliatory workplace

harassment.

                                      101.

      Defendants’ retaliatory actions were sufficient to deter a reasonable

person from engaging in protected activity under Title VII.

                                      102.

      As a direct, legal and proximate result of Defendants’ retaliation,

Plaintiff has sustained, and will continue to sustain, economic and emotional

injuries, resulting in damages in an amount to be proven at trial.

                                      103.

      Plaintiff is entitled to his reasonable attorney’s fees and costs of suit.
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                             PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief as follows:

1.       For a declaration that Defendants’ actions, policies and practices as

alleged herein are unlawful;

2.       For lost wages and all other compensation denied or lost to Plaintiff

by reason of Defendants’ unlawful actions, in an amount to be proven at

trial;

3.       For compensatory damages for Plaintiff’s emotional pain and

suffering, in an amount to be proven at trial;

4.       For punitive damages in an amount to be determined at trial;

5.       For liquidated damages;

6.       For interest on lost wages, compensation, and damages, including pre

and post-judgment interest and an upward adjustment for inflation;

7.       For an order enjoining Defendants from engaging in the unlawful acts

complained of herein;

8.       For reasonable attorney’s fees and costs of suit pursuant to 2 U.S.C. §

2000e-5(k); and

9.       For such other and further relief as this Court deems just and proper.
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      This the 16TH day of August, 2021.




                                                    /s/ Theresa Seals Starkes
                                                    Theresa Seals Starkes
                                                    Attorney for Defendant
                                                    GA Bar #676502

The Seals Starkes Law Firm, LLC
3939 LaVista Road, Suite E #411
Tucker, Georgia 30084
Office: (678) 404-9415

                       DEMAND FOR JURY TRIAL

      Plaintiff demands a jury trial on all causes of action and claims to

which he has a right to a jury trial.

      This 16th day of August, 2021.



                                              Respectfully submitted,




                                              /s/ Theresa Seals Starkes
                                              Theresa Seals-Starkes
                                              Attorney for Plaintiff
                                              Georgia Bar No. 676502

          3939 Lavista Road, Suite E #411
          Tucker, GA 30084
          (678) 404-9415 Office
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                        CERTIFICATE OF SERVICE

      This is to certify that I have this day served on counsel for the
defendant in the foregoing matter with a true and correct copy of the
foregoing by U.S. Mail delivery and electronic mail delivery, to the
following address:


AT&T Mobility Services
1025 Lenox Blvd.
Atlanta, GA


          This 16th day of August, 2021.



                                              Respectfully submitted,




                                              /s/ Theresa Seals Starkes
                                              Theresa Seals-Starkes
                                              Attorney for Plaintiff
                                              Georgia Bar No. 676502

          3939 Lavista Road, Suite E #411
          Tucker, GA 30084
          (678) 404-9415 Office
